

People v Hernandez (2022 NY Slip Op 05097)





People v Hernandez


2022 NY Slip Op 05097


Decided on August 31, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 31, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
DEBORAH A. DOWLING
BARRY E. WARHIT
JANICE A. TAYLOR, JJ.


2022-04746

[*1]The People of the State of New York, respondent,
vNeftali Camacho Hernandez, appellant. (S.C.I. No. 1196/17)


Neftali Camacho Hernandez, Beacon, NY, appellant pro se. 
Raymond A. Tierney, District Attorney, Riverhead, NY (Edward A. Bannan of counsel), for respondent.



DECISION &amp; ORDER
Application by the defendant for a writ of error coram nobis seeking leave to file a late notice of appeal from a judgment of the County Court, Suffolk County (Philip Goglas, J.), rendered October 7, 2019.
ORDERED that the application is granted, and the defendant's application is deemed a timely notice of appeal.
The defendant has established his entitlement to the relief requested (see People v Syville, 15 NY3d 391).
IANNACCI, J.P., DOWLING, WARHIT and TAYLOR, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








